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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

JUDGMENT IN A CIVIL CASE

 

ERNEST W. HOGAN,
Plaintiff,
VS. NO. l:OB-CV-1029-T

WEAKLEY COUNTY DETENTION
CENTER, ET AL,

Defendant(s).

[X] DECISION BY THE COURT. This action came to consideration
before the Court; the issues having been considered and a
decision has been rendered.

IT IS ORDERED AND ADJUDGED that in compliance with the Order
entered in the above styled matter on August 16, 2005, this
action is hereby DISMISSED; if is further CERTIFIED that any
appeal by plaintiff is not taken in good faith.

D'Q¢>M

J ES D. TODD
ITED STATES DISTRICT JUDGE

APPROVED:

THOMAS M. GOULD, CLERK

award

DEPUTY CLERK

Thl§ document entered on the docket sheet ln compliance

with Rule 58 and.’or,?S (e) FRCP On M_L ©
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This notice confirms a copy of the document docketed as number 12 in
case 1:05-CV-01029 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

